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JURY TRIAL - Day 8

           UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Judge: David C Nye                                   Deputy Clerk: Pamela Fulwyler
Case No: 13-035-S-DCN                                Reporter: Katherine Eismann
Date: February 13, 2019                              Time: 2 hrs 50 mins
Place: Boise, ID

Cynthia Fuller                        Kathryn Harstad / Erika Birch
             Plaintiff                Attorney for Plaintiff
vs.

Corrections, Department of et al      Phillip Collaer / Yvonne Dunbar
             Defendant                Attorney for Defendant


(X) Counsel present 8:44 am - Discussion concerning testimony of Craig Fitzgerald and plaintiff
objected to certain testimony of Sharla Means.
(X) Jurors and all Parties present in courtroom - 9:05 am

WITNESSES:
Plaintiff’s Witnesses:
Rebuttal - Cynthia Fuller

Defendant’s Witnesses:
Craig W. Beaver
Sharla Augusta Means
Kevin Kempf

Deposition Volume 1 of Sharla Means Published
Deposition of Kevin Kempf

EXHIBITS Admitted:
Plaintiffs’ Exhibits admitted into evidence:
n/a

Defendants’ Exhibits admitted into evidence:
n/a

(X) Jury admonished and excused for the morning recess at 10:15 am
(X) Outside the jury 11:00 am - objection by plaintiff regarding testimony of Sharla Means from
earlier this morning: Overruled.
(X) Jurors and Parties present in courtroom - 11:06 am
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(X) Jury admonished and the Court took a short recess at 12:00 pm
(X) Jurors and Parties present in courtroom - 12:05 pm

(X) Jury admonished and Court recessed for lunch at 12:10 pm
(X) Jurors and all Parties present in courtroom - 1:25 pm

Defendant rested - 1:55 pm

Both Parties Rested - 2:00 pm


(X) Outside of the Jury, discussion concerning jury instructions.
(X) Court recessed - 2:05 pm
(X) Counsel to return at 4:00 pm for informal jury instructions.
(X) Jurors released for the day and to return at 9:00 am February 14, 2019.

(X) Informal jury instructions to Parties - 4:00 pm

(X) Trial to resume February 14, 2019 at 9:00 am. Counsel to be present 8:30 am



ALL Exhibits Admitted in Trial through today:
Plaintiffs’ Exhibits admitted into evidence:
1011, 1042, 1006, 1009, 1016, 1020, 1017, 1021, 1022 admitted with limited instruction, 1023
admitted with limited instruction, 1024, 1025, 1029, 1008 only part 8E Safety and 1008 8C
Confidentiality admitted, 1027 admitted with limited instruction, 1034, 1003, 1039, 1033, 1019,
1028, 1030, 1045, 1046, 1038, 1032 redacted, 1004

Joint Exhibits admitted into evidence:
1, 2, 3, 4 redacted, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19

Defendants’ Exhibits admitted into evidence:
2022
